Case 1:13-cv-00497-LTB-KLM Document 2-3 Filed 02/26/13 USDC Colorado Page 1 of 15




                           EXHIBIT A
                              NOTICE OF REMOVAL
                     Aurora Bank, FSB v. PMAC Lending Services
                                    2013-cv-107
File & ServeXpress
                 Case 1:13-cv-00497-LTB-KLM Document 2-3 Filed 02/26/13 USDC Colorado Page 2 of 15                                                              Page 1 of 1




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 Court:             CO Douglas County District          Judge:        Caschette, Richard B                                  File & ServeXpress Live       1/18/2013
                    Court 18th JD                                                                                           Date:
 Division:          3 - Division 3                      Case Number: 2013CV107                                              Document(s) Filed:            7
 Case Type:         Breach of Contract                  Case Name:   AURORA BANK FSB vs. PMAC LENDING SERVICES              Date Range:                   All
                                                                     INC FDA PREFERRED
                                                                                                                       1-4 of 4 transactions   <<Prev Page 1 of 1 Next>>
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                                         Case Number                            Authorizer
 Transaction    Date/Time  Option                                                                Document Type                     Document Title                    Size
                                          Case Name                           Organization
 49641501 2/20/2013 9:10 File And 2013CV107                               Richard B Caschette,   Order           Grant (Order Granting Unopposed Motion for         0.1MB
             AM MST       Serve   AURORA BANK FSB vs. PMAC                CO Douglas County                      Enlargement of Time)
                                  LENDING SERVICES INC FDA                District Court 18th                  • Linked to (1)
                                  PREFERRED                               JD
 49636587 2/19/2013 5:22 File And 2013CV107                               Tamara Seelman,        Motion            Unopposed Motion for Enlargement of Time         0.1MB
             PM MST       Serve   AURORA BANK FSB vs. PMAC                Gordon & Rees-                         • Linked to (1)
                                  LENDING SERVICES INC FDA                Denver                 Proposed Order Order Granting Unopposed Motion for                 0.1MB
                                  PREFERRED                                                                        Enlargement of Time
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 49276316         2/4/2013 1:01  File Only 2013CV107                      Daniel K Calisher,     Return of Service RETURN OF SERVICE                                0.4MB
                  PM MST                   AURORA BANK FSB vs. PMAC       Foster Graham
                                           LENDING SERVICES INC FDA       Milstein & Calisher
                                           PREFERRED                      LLP
                  1/18/2013 4:56 File Only 2013CV107                      David S Canter,        Complaint        COMPLAINT                                         0.2MB
 49027908         PM MST                   AURORA BANK FSB vs. PMAC       Foster Graham                         • Linked from (2)
                                           LENDING SERVICES INC FDA       Milstein & Calisher    Civil Case Cover CIVIL CASE COVER SHEET FOR INITIAL                0.2MB
                                           PREFERRED                      LLP                    Sheet            PLEADING OF COMPLAINT, COUNTERCLAIM,
                                                                                                                  CROSS-CLAIM OR THIRD PARTY COMPLAINT
                                                                                                 Summons          SUMMONS                                           0.2MB
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   DISTRICT COURT, DOUGLAS COUNTY,                                EFILED Document
                                                                  CO Douglas County District Court 18th JD
   STATE OF COLORADO                                              Filing Date: Jan 18 2013 04:56PM MST
   4000 Justice Way, Suite 2009                                   Filing ID: 49027908
   Castle Rock, Colorado 80109                                    Review Clerk: denisa bogart
   Telephone: 303­663­7200


   Plaintiff: AURORA BANK, FSB

   v.

   Defendant: PMAC LENDING SERVICES, INC., f/d/a
   PREFERRED MORTGAGE ALLIANCE CORP.                                ▲COURT USE ONLY▲


   Attorneys for Plaintiff:                                     Case Number:
   Daniel K. Calisher (Reg. No. 28196)
   David S. Canter (Reg. No. 34257)                             Division:
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   Denver, Colorado 80209
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          dcanter@fostergraham.com


                              COMPLAINT AND JURY DEMAND


           Plaintiff Aurora Bank, FSB f/k/a Lehman Brothers Bank, FSB (“Plaintiff”), through its
   undersigned counsel, for its Complaint against defendant PMAC Lending Services, Inc., f/k/a
   Preferred Mortgage Alliance Corp. (“Defendant”), hereby states and alleges as follows:

                          I. PARTIES, JURISDICTION, AND VENUE.

        1.     Plaintiff is a federal savings bank with a business address of 10350 Park
   Meadows Drive, Littleton, Colorado 80124.

          2.      Upon information and belief, Defendant is a California corporation with a
   principal business address of 15325 Fairfield Ranch Road, Suite 200, Chino Hills, California
   91709.

           3.      This Court is vested with jurisdiction over Defendant because Defendant is
   registered to conduct business in the State of Colorado, and Defendant conducts business within
   the State of Colorado.
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          4.        Pursuant to C.R.C.P. 98(c), venue of this action is proper in Douglas County.

                                   II. FACTUAL ALLEGATIONS.

                                         A. The Subject Loans.

          5.      At all times relevant hereto, Defendant engaged in the sale of residential mortgage
   loans on the secondary market to investors such as Plaintiff.

          6.        Among other loans sold by Defendant to Plaintiff were the following:

               a.   That certain mortgage Loan No. ****0652 to borrower Juan Barba in connection
                    with property commonly known by street and number as 1236 North Ukiah Way,
                    Upland, California 91786 (“Barba Loan”);

               b.   That certain mortgage Loan No. ****9981 to borrower Victor Cortez in
                    connection with property commonly known by street and number as 949 North El
                    Dorado Avenue, Ontario, California 91764 (“Cortez Loan”);

               c.   That certain mortgage Loan No. ****3238 to borrower Maria Garcia in
                    connection with property commonly known by street and number as 2615 South
                    Fern Avenue, Ontario, California 91762 (“Garcia Loan”);

               d.   That certain mortgage Loan No. ****2831 to borrower Oscar Paz in connection
                    with property commonly known by street and number as 9691 Woodale Avenue,
                    Arleta, Los Angeles, California 91331 (“Paz Loan”);

               e.   That certain mortgage Loan No. ****0770 to borrowers Joyce and Malik Rodgers
                    in connection with property commonly known by street and number as 2008
                    Crawford Court, Fairfield, California 94533 (“Rodgers Loan”);

               f.   That certain mortgage Loan No. ****4063 to borrower Oliveria Torres­Mozo in
                    connection with property commonly known by street and number as 819 Via
                    Juanita, San Marcos, California 92078 (“Torres­Mozo Loan”); and

               g.   That certain mortgage Loan No. ****2911 to borrower Edell White in connection
                    with property commonly known by street and number as 13584 Sherman Place,
                    Fontana, California 92336 (“White Loan”).

           7.      Borrowers Barba, Cortez, Garcia, Paz, Rodgers, Torres­Mozoe, and White are
   collectively referred to herein as “Borrowers.” The Barba Loan, the Cortez Loan, the Garcia
   Loan, the Paz Loan, the Rodgers Loan, the Torres­Mozo Loan, and the White Loan are
   collectively referred to herein as “Loans.”




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                      B. The Loan Purchase Agreement and Seller’s Guide.

          8.      The Loans were purchased by Plaintiff from Defendant pursuant to the terms and
   conditions of the written Loan Purchase Agreement between Plaintiff and Defendant dated on or
   about January 22, 2004 (“Agreement”).

           9.     The Agreement specifically incorporated the terms and conditions of Aurora Loan
   Services, Inc.’s Seller’s Guide (“Seller’s Guide”), which sets forth additional duties and
   obligations of Defendant.

          10.    The Agreement and/or Seller’s Guide constitute a valid and enforceable contract
   binding upon Defendant with respect to the Loans.

          11.     With respect to the Loans, Defendant made a number of representations,
   warranties, and covenants, including, but not limited to, the following:

                 a. No document, report or material furnished to Plaintiff in any mortgage loan
                    file or related to the Loans, or any of them, was falsified or contains any
                    untrue statement of fact or omits to state a fact necessary to make the
                    statements contained therein not misleading.

                 b. The notes and the mortgages respecting the Loans, and each of them, sold to
                    Plaintiff are genuine, and each is a legal, valid, and binding obligation.

                 c. All parties to the notes and mortgages respecting the Loans, and each of them,
                    had legal capacity to enter into the Loans and to execute and deliver the notes
                    and mortgages, and the notes and the mortgages respecting the Loans have
                    been duly and properly executed by such parties.

                 d. The documents, instruments and agreements submitted in connection with the
                    underwriting of the Loans were not falsified and contain no untrue statements
                    of material fact or omit to state a material fact required to be stated therein or
                    necessary to make the information and statements therein not misleading.

                 e. No fraud was committed in connection with the origination of the Loans.

                 f. Defendant has reviewed all of the documents constituting the files submitted
                    in connection with each of the Loans and has made such inquiries as
                    Defendant deemed necessary to make and confirm the accuracy of the
                    representations set forth therein.

                 g. The Loans, and each of them, have been originated and processed by
                    Defendant or Defendant’s correspondent in accordance with, and in
                    conformity with, the terms of the Agreement and the Seller’s Guide, and the
                    Loans, and each of them, have been underwritten in accordance with
                    Underwriting Guidelines in effect as of the date of the Delivery Commitment


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                      applicable to the Loans, and each of them. The Loans, and each of them,
                      comply with all the requirements of the related Program Profile applicable to
                      the Loans, and each of them.

          12.    In addition, Defendant represented, warranted, and covenanted that Plaintiff
   purchased the Loans in reliance upon (a) the truth and accuracy of Defendant’s representations
   and warranties set forth in the Agreement and Seller’s Guide, and (b) Defendant’s compliance
   with each of the agreements, requirements, terms, covenants, and conditions set forth in the
   Agreement and Seller’s Guide.

           13.      Defendant also agreed, among other things, that in the event of a breach of any of
   the representations, warranties or covenants contained in the Agreement or Seller’s Guide, which
   breach materially and adversely affects the value of the Loan(s) or the interest of Plaintiff, or
   materially and adversely affects the interest of Plaintiff in the Loan(s), Defendant shall
   repurchase the related Loan(s), with the repurchase to occur no later than thirty (30) days after
   Plaintiff notifies Defendant of the breach.

         14.     Defendant further agreed that in addition to any repurchase and cure obligations,
   Defendant shall indemnify Plaintiff from and hold Plaintiff harmless against all claims, losses,
   damages, attorney’s fees, and expenses Plaintiff may sustain in any way related to or resulting
   from any act or failure to act or any breach of any warranty, obligation, representation or
   covenant contained in the Agreement or the Seller’s Guide.

           15.     As set forth in the Agreement, Defendant agreed that the Agreement and Seller’s
   guide shall be construed in accordance with the laws of the State of New York, and further, the
   obligations, rights, and remedies of Plaintiff and Defendant shall be determined in accordance
   with New York law.

   C. Defendant’s Material Breaches Of Its Representations, Warranties, And/Or Covenants.

           16.     Plaintiff discovered one or more material defects in the Loans, and further
   discovered Defendant had breached one or more of its representations, warranties, and/or
   covenants under the Agreement and/or Seller’s Guide. Such material defects and/or Defendant’s
   breach of one or more of its representations, warranties, and/or covenants include, but need not
   be limited to, the following:

                  a. With respect to the Barba Loan, among other things, Defendant
                     misrepresented Borrower Barba’s income.

                  b. With respect to the Cortez Loan, among other things, Defendant
                     misrepresented Borrower Cortez’s mortgage payments and total debt
                     obligations, and thus, Borrower Cortez’s actual debt­to­income (“DTI”)
                     obligation mandated full documentation for the loan. Defendant’s failure to
                     provide full documentation constitutes an underwriting violation and breach
                     of the Agreement.



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              c. With respect to the Garcia Loan, among other things, Defendant failed to
                 diligently investigate whether Borrower Garcia’s reasonably supported
                 Borrower Garcia’s ability to repay the mortgage debt, which constitutes an
                 underwriting violation and breach of the Agreement. Additionally, the
                 underwriting policy requires that transactions resulting in significant payment
                 shock (i.e., the housing payment more than doubles) be underwritten under
                 full documentation guidelines. Borrower Garcia’s housing payment increased
                 by 1100%, yet Defendant failed to provide full documentation, which
                 constitutes an underwriting violation and breach of the Agreement.

              d. With respect to the Paz Loan, among other things, Plaintiff is informed and
                 believes the broker was also acting as a real estate agent for both the buyer
                 and the seller. This was a non­arms’ length transaction, without exception,
                 which is an underwriting violation and breach of the Agreement.

              e. With respect to the Rodgers Loan, among other things, Defendant
                 misrepresented one of the borrowers’ employment and income. Because the
                 Rodgers Borrowers presented inconsistent employment and earnings
                 information, Defendant was required to obtain further documentation to verify
                 both employment and income.           Defendant’s failure to obtain such
                 documentation is a violation of Plaintiff’s underwriting guidelines.
                 Additionally, when the Rodgers Borrowers’ verified income was used to
                 calculate DTI, the DTI grossly exceeded the maximum allowable under
                 Plaintiff’s underwriting guidelines. Further, the Rodgers Borrowers’ housing
                 payment increased by 162% (i.e., payment shock), yet Defendant failed to
                 provide full documentation, which constitutes an underwriting violation and
                 breach of the Agreement.

              f. With respect to the Torres­Mozo Loan, among other things, Defendant failed
                 to verify Borrower Torres­Mozo’s assets and funds on deposit, which
                 constitutes an underwriting violation and breach of the Agreement.

              g. With respect to the White Loan, among other things, Defendant failed to
                 provide the required documentation of six months of assets necessary for
                 Borrower White to pay principal, interest, taxes, and insurance (“PITI”). This
                 constitutes an underwriting violation and breach of the Agreement.
                 Additionally, Defendant failed to exercise due diligence or otherwise confirm
                 that Borrower White’s reported income source would reasonably support
                 Borrower White’s ability to repay the mortgage debt. It was not reasonable
                 for Defendant to assume that Borrower White’s reported profession would
                 generate income sufficient to support Borrower White’s monthly obligation.
                 Defendant’s failure to exercise due diligence or otherwise confirm Borrower
                 White’s reported income source constitutes an underwriting violation and
                 breach of the Agreement.



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         17.     Defendant breached one or more of its representations, warranties, and/or
   covenants under the Agreement and/or Seller’s Guide, including those identified in above.

          18.     On or about April 16, 2012, Plaintiff provided Defendant with written notice of
   Defendant’s material breach of the representations, warranties, and/or covenants with respect to
   the Loans, and demanded that Defendant indemnify Plaintiff for Plaintiff’s losses associated with
   the Loans.

         19.    Defendant has refused or otherwise failed to comply with its obligations under the
   Agreement and Seller’s Guide regarding the Loans.

          20.    Plaintiff, and as applicable its predecessors and agents, have substantially
   performed any and all of their respective obligations under the Agreement and Seller’s Guide.

           21.     All conditions precedent to this action on the part of Plaintiff, if any, have been
   satisfied, waived, are futile or have been prevented by Defendant.

                                 III. FIRST CLAIM FOR RELIEF.
                                        (Breach of Contract)

          22.     Plaintiff hereby incorporates by this reference the allegations set forth above as
   though fully set forth herein.

           23.    Defendant has breached the Agreement and Seller’s Guide by: (a) breaching one
   or more of its agreements, representations, warranties, and/or covenants; (b) refusing or
   otherwise failing to repurchase the Loans; and/or (c) refusing to indemnify Plaintiff for losses
   arising from or relating to the Loans.

           24.      Defendant’s prior and continuing breaches have resulted in substantial damages to
   Plaintiff in an amount to be proven at trial.

                                IV. SECOND CLAIM FOR RELIEF.
                                    (Breach of Express Warranty)

           25.      Plaintiff hereby incorporates by this reference the allegations set above as though
   fully set forth herein.

          26.    Defendant made a number of express warranties with respect to material facts
   concerning the Loans, including but not limited to the warranties described above.

           27.     The warranties contained in the Agreement and Seller’s Guide were an essential
   part of the bargain between Plaintiff and Defendant.

          28.     Defendant breached one or more of its warranties with respect to the Loans.




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            29.    Plaintiff provided Defendant with written notice concerning Defendant’s breach
   of its express warranties.

         30.     Defendant has refused or otherwise failed to remedy or compensate Plaintiff for
   Defendant’s breach of its express warranties.

         31.     As a result of Defendant’s breach of the express warranties contained in the
   Agreement and Seller’s Guide, Plaintiff has sustained actual, consequential, and substantial
   damages in an amount to be proven at trial.

                                  V. THIRD CLAIM FOR RELIEF.
                   (Breach of the Implied Covenant of Good Faith and Fair Dealing)

          32.     Plaintiff hereby incorporates by this reference the allegations set forth above as
   though fully set forth herein.

           33.      The Agreement and Seller’s Guide contain an implied covenant of good faith and
   fair dealing.

          34.     Defendant breached the implied covenant of good faith and fair dealing by,
   among other things, failing to act in good faith in refusing to repurchase one or more of the
   Loans or, alternatively, to indemnify Plaintiff relating thereto.

           35.    Plaintiff has suffered actual, consequential, and substantial damages arising from
   or relating to Defendant’s breach of the implied covenant of good faith and fair dealing, in an
   amount to be proven at trial.

                                      VI. RELIEF REQUESTED.
           WHEREFORE, Plaintiff respectfully requests that judgment enter in its favor, and
   against Defendant, as follows:
           (1)      For all damages incurred by Plaintiff arising from or relating to Defendant’s
                    breach of contract, in an amount to be proven at trial;

           (2)      For all damages incurred by Plaintiff arising from or relating to Defendant’s
                    breach of express warranty, in an amount to be proven at trial;

           (3)      For all damages incurred by Plaintiff arising from or relating to Defendant’s
                    breach of the implied covenant of good faith and fair dealing, in an amount to be
                    proven at trial;

           (4)      For recoverable interest;

           (5)      For the costs and expenses of suit incurred by Plaintiff herein, including
                    recoverable attorneys’ fees; and



                                                    7
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         (6)    For such other and further relief as this Court deems just and proper.



         DATED this 18th day of January, 2013.

                                              FOSTER GRAHAM
                                              MILSTEIN & CALISHER LLP


                                              /s/ David S. Canter
                                              Daniel K. Calisher
                                              David S. Canter
                                              ATTORNEYS FOR PLAINTIFF



   Address of Plaintiff:
   Aurora Bank, FSB
   10350 Park Meadows Drive
   Littleton, Colorado 80124




   In accordance with C.R.C.P. 121 § 1­26(9), a printed copy of this document with original
   signature(s) is maintained by Foster Graham Milstein & Calisher, LLP and will be made
   available for inspection by other parties or the Court upon request.




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   DISTRICT COURT, DOUGLAS COUNTY,                                    EFILED Document
                                                                      CO Douglas County District Court 18th JD
   STATE OF COLORADO                                                  Filing Date: Jan 18 2013 04:56PM MST
   4000 Justice Way, Suite 2009                                       Filing ID: 49027908
   Castle Rock, Colorado 80109                                        Review Clerk: denisa bogart
   Telephone: 303­663­7200


   Plaintiff: AURORA BANK, FSB

   v.

   Defendant: PMAC LENDING SERVICES, INC., f/d/a
   PREFERRED MORTGAGE ALLIANCE CORP.                                    ▲COURT USE ONLY▲


   Attorneys for Plaintiff:                                          Case Number:
   Daniel K. Calisher (Reg. No. 28196)
   David S. Canter (Reg. No. 34257)                                  Division:
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   360 South Garfield Street, 6th Floor
   Denver, Colorado 80209
   Phone: (303) 333­9810
   Email: calisher@fostergraham.com
          dcanter@fostergraham.com


            CIVIL CASE COVER SHEET FOR INITIAL PLEADING OF COMPLAINT,
              COUNTERCLAIM, CROSS­CLAIM OR THIRD PARTY COMPLAINT


         1.    This cover sheet shall be filed with the initial pleading of a complaint, counterclaim,
   cross­claim or third party complaint in every district court civil (CV) case. It shall not be filed in
   Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV), or Mental
   Health (MH) cases.
            2.   Check the boxes applicable to this case.

        q        Simplified Procedure under C.R.C.P. 16.1 applies to this case because this party
                 does not seek a monetary judgment in excess of $100,000.00 against another party,
                 including any attorney fees, penalties or punitive damages but excluding interest and
                 costs and because this case is not a class action or forcible entry and detainer, Rule
                 106, Rule 120, or other expedited proceeding.
Case 1:13-cv-00497-LTB-KLM Document 2-3 Filed 02/26/13 USDC Colorado Page 12 of 15




      X    Simplified Procedure under C.R.C.P. 16.1, does not apply to this case because
           (check one box below identifying why 16.1 does not apply):

          q This is a class action or forcible entry and detainer, Rule 106, Rule 120, or other
            similar expedited proceeding, or

          X This party is seeking a monetary judgment for more than $100,000.00 against another
            party, including any attorney fees, penalties or punitive damages, but excluding
            interest and costs (see C.R.C.P. 16.1(c)), or

          q      Another party has previously stated in its cover sheet that C.R.C.P. 16.1 does not
              apply to this case.

      3.          This party makes a Jury Demand at this time and pays the requisite fee.      See
   C.R.C.P. 38.


          DATED this 18th day of January, 2013.


                                               FOSTER GRAHAM
                                                MILSTEIN & CALISHER LLP


                                               /s/ David S. Canter
                                               Daniel K. Calisher
                                               David S. Canter
                                               ATTORNEYS FOR PLAINTIFF




   In accordance with C.R.C.P. 121 § 1­26(9), a printed copy of this document with original
   signature(s) is maintained by Foster Graham Milstein & Calisher, LLP and will be made
   available for inspection by other parties or the Court upon request.




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Case 1:13-cv-00497-LTB-KLM Document 2-3 Filed 02/26/13 USDC Colorado Page 13 of 15




                                                     EFILED Document
                                                     CO Douglas County District Court 18th JD
                                                     Filing Date: Feb 04 2013 01:01PM MST
                                                     Filing ID: 49276316
                                                     Review Clerk: denisa bogart
Case 1:13-cv-00497-LTB-KLM Document 2-3 Filed 02/26/13 USDC Colorado Page 14 of 15
Case 1:13-cv-00497-LTB-KLM The
                            Document      2-3 Filed 02/26/13 USDC Colorado Page 15 of 15
                               moving party is hereby ORDERED
           GRANTED            to provide a copy of this Order to
                              any pro se parties who have entered an
                              appearance in this action within 10 days
                              from the date of this order.                    Richard B. Caschette
                                                                              District Court Judge
                                                                              DATE OF ORDER INDICATED ON ATTACHMENT


                                                                         EFILED Document
   DISTRICT COURT, DOUGLAS COUNTY                                        CO Douglas County District Court 18th JD
                                                                         Filing Date: Feb 20 2013 09:10AM MST
   COLORADO                                                              Filing ID: 49641501
   4000 Justice Way, Suite 2009                                          Review Clerk: N/A
   Castle Rock, CO 80109
   Telephone: (303) 663­7200
   Plaintiff:

   AURORA BANK, FSB                                                       ▲COURT USE ONLY▲
   Defendant:                                                        Case No. 2013­cv­107
   PMAC LENDING SERVICES, INC., f/d/a PREFERRED                      Div. 3
   MORTGAGE ALLIANCE CORP.
       ORDER GRANTING UNOPPOSED MOTION FOR ENLARGEMENT OF TIME

         This MATTER comes before this Court on Defendant PMAC Lending Services, Inc.’s
   Unopposed Motion for Enlargement of Time to answer or otherwise respond to the Complaint.
   Having reviewed the same, this Court finds that the motion is well­taken and is hereby
   GRANTED.

          IT IS ORDERED that Defendant PMAC Lending Services, Inc. shall have up to and
   including March 5, 2013 to file an answer or other responsive pleading.

          DONE this _____ day of _______, 2013.

                                                 BY THE COURT:

                                                 _______________________________
                                                 District Court Judge
